           Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 1 of 13

                        rn BS USEB BY PBISOKEKS IN PILING A COB'IPLAINT
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                          Defsudarsts;



                          Court(iffed^cotEt,name ite district;ifstate court,isaie the coady):

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                   4       Name ofjndgs assigned to case
Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 2 of 13


      5,     Di^jositioa
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Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 3 of 13

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        2.
       Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 4 of 13
                         Did you ^peal any adverse decision to the highest level possible in^
                                         procedure?                          Yes      No

                         If yes, what was the result?



        jy        ffyou did not utilise tiie prison gdevaiKre procetee,ejqpMa why act —4^^


III.    Patties

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                  and address ofany additional plaiad^(m an attached sheet)
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                  C below.)

                  Name ofdefendant:
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                  Addhi<Ki^ defendants: —^
      Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 5 of 13


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                       Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 6 of 13




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Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 7 of 13
Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 8 of 13




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                Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 9 of 13




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       Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 10 of 13
  V.     Relief
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      Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 11 of 13




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       complaint unless it conforms to these instructions and tofoese fonns.
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       rise to fee claim occurred in this distnct

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        account mac«^ce^                      ^           ^        ^filing fee. After

        SSto set aside 20 percentofail <N«sit3 to your trust fond account
        Case 4:20-cv-00002-WTM-CLR Document 1 Filed 01/02/20 Page 12 of 13

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              f,rbon             wm c^nn&nue until the totaifee is collected, even, ifyour
         ■f^sse is dismissed isi the ou^seL

9-       If a judgmeat is later entered agamst you for costs, you will be required to pay
         tiiose costs in the same manner as pro^/ided for payment of the ffling fee.
10- A prisoner who has had three or more civil actions or ^eals dismissed as
    ftwolous maHcious, or for Mme to state a claim is not ehgfole to proceed
    without prepayment of the full filing fee unless the prisoner is in immineat danger
         of serious physical injury-

11-      The original complaint, the filing fee or the application to proceed without
         prepayment fees, and any other correspondence pertaining to this action should be
         sent to one of the following addressfe. _
AUGUSTA DIVISION (comprised of Burke, Columbia, Glascock, Jefferson, Lincoln,
McDiffie Richmond, TaHafeiro, Wiikes, and Warren Counties), should be mailed to
                DmJcow^ PO B<» 1130. Aug»ta OA 30903.
RRI rfiJSWICK DIVISION (comprised of Appling, Camden, Giynn, Jeff Davis, Long,
SfoSSd Wayne Counties), should be mailed to United States District Court P 0
Box 163 6, Brunswick GA 31521.
nt JBLIN DIVISION (comprised of Dodge, Johnson, Laurens, Montgomeiy, Telfem
Tr^den, and Wheeler Counties), should be mailed to United States Distnct Court, P O
Box 1130, Augusta GA 30903.



31412.




1636, BruBSwick GA 3152L
      ATESBORO DIVISIQN (comprised to Bullocii, Gaudier, Emanuei, Eva^,
TattnaH, and Toombs Counties), should be mailed to United States Distnct Court,
Box 8286, Ssvannali GA 31412.
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